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                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Colorado

                     In the Matter of the Search of
                                                                               )       Case No.          21-sw-00063-STV
      Black Samsung Cellular Telephone held in evidence and                    )
      associated with Aurora Police Department case 2021-1832,                 )
      currently stored in the Aurora Police Department Property                )
      Division more fully described in Attachment A, attached                  )
      hereto.
                                                                               )
                                                                               )
                                                                               )

                                             APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the State and      District of Colorado          (identify the person or describe property to be searched and give its location):

          SEE “ATTACHMENT A”, which is attached to and incorporated in this Application and Affidavit
          The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

          SEE “ATTACHMENT B”, which is attached to and incorporated in this Application and Affidavit
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    X evidence of a crime;
                    X contraband, fruits of crime, or other items illegally possessed;
                    X property designed for use, intended for use, or used in committing a crime;
                          a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of 18         U.S.C. § 2422(b), and the application is based on these facts:

          X Continued on the attached affidavit, which is incorporated by reference.
               Delayed notice of      days (give exact ending date if more than 30 days:                                  ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                             s/ Kristen Draper____________
                                                                                              Applicant’s signature

                                                                                Special Agent Kristen Draper, DHS
                                                                                     Printed name and title

Sworn to before me and:                    signed in my presence.
                                           submitted, attested to, and acknowledged by reliable electronic means.

Date:      1/28/2021                                                       ___________________________________________
                                                                                              Judge’s signature

City and state:       Denver, CO                                               Scott T. Varholak, U.S. Magistrate Judge
                                                                             __________________________________________
                                                                                              Printed name and title
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                                        ATTACHMENT A

                      DESCRIPTION OF LOCATION TO BE SEARCHED

A black Samsung cellular telephone with unknown serial number (hereinafter and in Attachment B as

the “Device”) currently secured in the Aurora Police Department Property Bureau under tag number

214842-1 at 15001 East Alameda Parkway, Aurora, Colorado, 80012.




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                                           ATTACHMENT B

                  DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

For the Device listed and described in Attachment A, the following items, that constitute evidence of the
commission of, contraband, the fruits of crime, or instrumentalities of violations of Title 18, United
States Code, Section 2422(b) (hereinafter “Subject Offenses”):

1. Any and all information, notes, software, documents, records, or correspondence, in any format and
   medium, pertaining to violations of the Subject Offenses;

2. Any and all information, notes, documents, records, or correspondence, in any format or medium,
   pertaining to sexual activity with or sexual interest in minors;

3. Any and all information, notes, documents, records, or correspondence, in any format or medium,
   concerning Internet activity reflecting a sexual interest in minors;

4. Any and all information, notes, software, documents, records, or correspondence, in any form and
   medium pertaining to any minor who is, or appears to be, the subject of any visual depiction of child
   pornography, child erotica, sexual activity with other minors or adults, or of sexual interest, or that
   may be helpful in identifying any such minors;

5. Any and all address books, names, and lists of names and addresses of individuals who may have
   been contacted by use of the Device or by other means for the purpose of committing violations of
   the Subject Offenses;

6. Records of Internet activity, including Internet Protocol addresses, firewall logs, transactions with
   Internet hosting providers, co-located computer systems, cloud computing services, caches, browser
   history and cookies, “bookmarked” or “favorite” web pages, search terms that the user entered into
   any Internet search engine, and records of user-typed web addresses pertaining to violations of the
   Subject Offenses or that show who used, owned, possessed, or controlled the Device;

7. Any and all information, documents, records, photos, videos, or correspondence, in any format or
   medium, pertaining to use or ownership of the Device, or that aid in the identification of persons
   involved in violations of the Subject Offenses;

8. Credit card information, bills, and payment records pertaining to violations of the Subject Offenses;

9. Descriptions of time, date, locations, items, or events showing or tending to show the commission of,
   or connecting or tending to connect a person to violations of the Subject Offenses;

10. Evidence of who used, owned, or controlled the Device to commit or facilitate the commission of the
    crimes described, or at the time the things described in this warrant were created, edited, or deleted,
    including photographs, videos, logs, call logs, phonebooks, address books, contacts, IP addresses,
    registry entries, configuration files, saved usernames and passwords, documents, calendars,
    browsing history, search terms, metadata, user profiles, e-mail, e-mail contacts, messages (text or
    voice), instant messaging logs, file structure and correspondence;




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11. Evidence of software that may allow others to control the Device, such as viruses, Trojan horses, and
    other forms of malicious software, as well as evidence of the presence or absence of security
    provisions or software designed to detect malicious software or unauthorized use of the device, and
    evidence of the lack of such malicious software;

12. Evidence of the attachment to the Device of other storage devices or similar containers for electronic
    evidence;

13. Evidence of counter-forensic programs (and associated data) that are designed to eliminate data from
    the Device;

14. The telephone number, ESN number, serial number, and/or SIM card numbers of or contained in the
    Device;

15. Passwords, encryption keys, and other access devices that may be necessary to access the Device;
    and

16. Contextual information necessary to understand the evidence described in this attachment.

DEFINITIONS:

17. As used above, the terms "records" and "information" include all of the foregoing items of evidence
    in whatever form and by whatever means they may have been created or stored, including any form
    of computer or electronic storage (such as hard disks or other media that can store data); any
    handmade form (such as writing, drawing, painting); any mechanical form (such as printing or
    typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
    videotapes, motion pictures, or photocopies).

18. “Child Pornography” is defined in 18 U.S.C. § 2256(8), which includes as any visual depiction of
    sexually explicit conduct involving the use of a minor; a digital image, computer image, or
    computer-generated image that is, or is indistinguishable from that of a minor engaged in sexually
    explicit conduct; or a visual depiction that has been created, adapted, or modified to appear than an
    identifiable minor is engaging in sexually explicit conduct.

19. “Visual depiction” includes prints, copies of visual images, developed and undeveloped film and
    videotape, and data stored on computer disk or by electronic means, which is capable of conversion
    into a visual image. See 18 U.S.C. § 2256(5).

20. “Child Erotica” means materials or items that are sexually arousing to persons having a sexual
    interest in minors but that are not, in and of themselves, obscene or that do not necessarily depict
    minors in sexually explicit poses or positions; this also includes texts or discussions regarding
    minors engaged in sexual acts or conduct.




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                                             AFFIDAVIT

I, Kristen Draper, being duly sworn, hereby depose and state that the following is true to the best of my
information, knowledge, and belief:

                          INTRODUCTION AND AGENT BACKROUND

1. I am a Special Agent (“SA”) with Homeland Security Investigations (“HSI”) and have been so
   employed since October 2002. I am currently assigned to the HSI Colorado Cyber Guardian Task
   Force. I have successfully completed the Criminal Investigator Training Program and the HSI
   Special Agent Training program at the Federal Law Enforcement Training Center in Brunswick,
   GA, in addition to several other post-academy training programs. As part of my duties, I investigate
   criminal violations relating to child exploitation and child pornography, including violations
   pertaining to the illegal production, distribution, receipt, and possession of child pornography, in
   violation of Title 18, United States Code, Sections 2251, 2252, and 2252A. and criminal offenses
   pertaining the enticement of a minor to engage in criminal sexual activity in violation of Title 18
   United States Code, Section 2422. I have received training and instruction in the field of
   investigation of child pornography and have had the opportunity to participate in investigations
   relating to the sexual exploitation of children. As part of my training and experience, I have
   reviewed images containing child pornography in a variety of formats (such as digital still images
   and video images) and media (such as digital storage devices, the Internet, and printed images). I
   have also been the affiant for and participated in the execution of numerous search warrants in child
   pornography and child exploitation investigations.

2. This affidavit is submitted in support of an application for a search warrant for computers and
   related equipment (more fully described in Attachment A), and the data located therein, there being
   probable cause to believe that located in the place described in Attachment A are items described in
   Attachment B, being evidence, fruits, and instrumentalities of violations of Title 18, United States
   Code, Section 2422(b).

3. Because this affidavit is being submitted for the limited purpose of securing a search warrant, I
   have not included each and every fact known to me concerning this investigation. I have set forth
   facts that I believe are necessary to establish probable cause to believe that evidence, fruits, and
   instrumentalities of violations of Title 18, United States Code, Section 2422(b) are located in the
   place described in Attachment A.

4. The information contained within the affidavit is based on my training and experience, as well as
   information imparted to me by other law enforcement officers involved in this investigation.

                                       RELEVANT STATUTES

5. This investigation concerns alleged violations of Title 18, United States Code, Section 2422(b),
   which prohibits a person from using the mail or any facility or means of interstate or foreign
   commerce to knowingly persuade, induce, entice, or coerce an individual who has not attained the
   age of 18 years to engage in sexual activity for which a person can be charged with a criminal
   offense, or attempting to do so.




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                   IDENTIFICATION OF THE DEVICE TO BE EXAMINED

6. A cellular telephone is held in evidence at the Aurora Police Department Property Bureau in
   Aurora, Colorado, which was discovered in the possession of Paul Castro and seized incident to
   arrest. It is being held in evidence under tag number 214842-1. The item is one black Samsung
   Cellular Telephone, hereinafter and in Attachments A and B the “Device.”

7. Your Affiant believes there is probable cause to believe that the Device contains evidence, fruits,
   and instrumentalities of violations of Title 18, United States Code, Section 2422(b).

8. The applied-for warrant would authorize the forensic examination of the Device for the purpose of
   identifying electronically stored data particularly described in Attachment B.

9. The Device is currently in the lawful possession of the Aurora Police Department. It came into the
   Aurora Police Department’s possession in the following way: On January 13 and 14, 2021, Paul
   Castro communicated with an undercover agent (hereinafter referred to as the “UC”) and arranged
   to meet with two underage females the UC was purportedly selling to engage in sexual activity with
   in exchange for money. On January 14, 2021, Paul Castro was arrested by officers from the Aurora
   Police Department after he arrived at the motel where he arranged to meet the UC to conduct the
   transaction. Paul Castro was in possession of the Device and it was seized to preserve evidence.

                        ELECTRONIC STORAGE AND FORENSIC ANALYSIS

18. Based on my training and experience, your Affiant knows about the following items, hereinafter
    and below and in the Attachments “Device.”

19. A digital camera is a camera that records pictures as digital picture files, rather than by using
    photographic film. Digital cameras use a variety of fixed and removable digital storage media to
    store their recorded images. Images can usually be retrieved by connecting the camera to a
    computer or by connecting the removable storage medium to a separate reader. Removable storage
    media includes various types of flash memory cards and miniature hard drives. Most digital
    cameras also include a screen for viewing the stored images. This storage media can contain any
    digital data, including data unrelated to photographs or videos such as texts, word processing
    documents, or web pages. If the camera is equipped with global positioning system (“GPS”)
    technology, that information may be recorded as metadata associated with the photographs and
    videos taken with that camera as well as other information such as the make and model of the
    camera and the date and time the image was created. Some cameras and removable storage media
    are now equipped with wireless capabilities, which allow for images and files to be uploaded from
    the camera or digital storage media directly to the Internet or to other digital storage devices or
    computers using a wired or wireless connection.

20. A wireless telephone (or mobile telephone, or cellular telephone) is a handheld wireless device used
    for voice and data communication through radio signals. These telephones send signals through
    networks of transmitter/receivers, enabling communication with other wireless telephones or
    traditional “land line” telephones. A wireless telephone usually contains a “call log,” which records
    the telephone number, date, and time of calls made to and from the phone. In addition to enabling
    voice communications, wireless telephones offer a broad range of capabilities. These capabilities
    include: storing names and phone numbers in electronic “address books;” sending, receiving, and
    storing text messages and e-mail; taking, sending, receiving, and storing still photographs and
    moving video; storing and playing back audio files; storing dates, appointments, and other


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   information on personal calendars; and accessing and downloading information from the Internet
   including websites, social media sites, bulletin boards, file sharing, and other Internet sites.
   Wireless telephones often have a subscriber identity module or subscriber identification module
   (“SIM”), which is an integrated circuit that securely stores the International Mobile Subscriber
   Identity (“IMSI”) and the related key used to identify and authenticate subscribers on mobile
   telephone devices. A SIM is embedded into a removable “SIM card,” which can be transferred
   between different mobile devices. A SIM card contains a unique serial number (“ICCID”), IMSI,
   security authentication and ciphering information, temporary information related to the local
   network, a list of the services to which the user has access, and certain passwords. Most SIM cards
   will also store certain usage data, such as call history, text (“SMS”) messages, and phone book
   contacts. Wireless telephones may also be “smartphones,” such that they operate as personal
   computers capable of accessing the Internet. They may also include GPS technology for
   determining the location of the device. Such telephones may also contain removable storage media,
   such as a flash card—such devices can store any digital data, and can have the capacity to store
   many gigabytes of data. Some cellular telephones also have software, giving them the same
   capabilities as personal computers including accessing and editing word processing documents,
   spreadsheets, and presentations. Some cellular telephones also operate as a “tablet,” or mobile
   computer, and can contain software programs called applications. Those programs can perform
   different functions and save data associated with those functions, including use associated with the
   Internet.

21. Based on my knowledge, training, and experience, your Affiant knows that computers and digital
    storage devices can store information for long periods of time. Similarly, things that have been
    searched for and viewed via the Internet are typically stored for some period of time on a device.
    This information can sometimes be recovered with forensic tools.
22. Based on my knowledge, training, and experience, examining data stored on computers and digital
    storage devices can uncover, among other things, evidence that reveals or suggests who possessed
    or used the computer or digital storage devices.
23. There is probable cause to believe that things that were once stored on the Device may still be
    stored there, for at least the following reasons:
          a. Based on my knowledge, training, and experience, I know that digital files or remnants of
             such files can be recovered months or even years after they have been downloaded onto a
             storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a
             storage medium can be stored for years at little or no cost. Even when files have been
             deleted, they can be recovered months or years later using forensic tools. This is so
             because when a person “deletes” a file on a digital storage device or computer, the data
             contained in the file does not actually disappear; rather, that data remains on the storage
             medium until it is overwritten by new data.
          b. Therefore, deleted files, or remnants of deleted files, may reside in free space or slack
             space—that is, in space on the storage medium that is not currently being used by an
             active file—for long periods of time before they are overwritten. In addition, a
             computer’s operating system may also keep a record of deleted data in a “swap” or
             “recovery” file.
          c. Wholly apart from user-generated files, computer storage media including digital storage
             devices and computers’ internal hard drives can contain electronic evidence of how a
             computer has been used, what it has been used for, and who has used it. To give a few


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              examples, this forensic evidence can take the form of operating system configurations,
              artifacts from operating system or application operation, file system data structures, and
              virtual memory “swap” or paging files. Computer users typically do not erase or delete
              this evidence, because special software is typically required for that task. However, it is
              technically possible to delete this information.
          d. Similarly, files that have been viewed via the Internet are sometimes automatically
             downloaded into a temporary Internet directory or “cache.” Forensic review may also
             disclose when and by whom the Internet was used to conduct searches, view material,
             and communicate with others via the Internet.
24. Forensic evidence. As further described in Attachment B, this application seeks permission to
    locate not only electronically stored information on the Device(s) that might serve as direct
    evidence of the crimes described on the warrant, but also forensic evidence that establishes how the
    Device(s) were used, the purpose of the use, who used the Device(s), and when. There is probable
    cause to believe that this forensic electronic evidence might be on the Device(s) because:
          a. Data on the storage medium can provide evidence of a file that was once on the storage
             media but has since been deleted or edited, or of a deleted portion of a file (such as a
             paragraph that has been deleted from a word processing file). Virtual memory paging
             systems can leave traces of information on the storage medium that show what tasks and
             processes were recently active. Web browsers, e-mail programs, and chat programs store
             configuration information on the storage medium that can reveal information such as
             online nicknames and passwords. Operating systems can record additional information,
             such as the attachment of peripherals, the attachment of USB flash storage devices or
             other external storage media, and the times the computer or device was in use. Computer
             file systems can record information about the dates files were created and the sequence in
             which they were created. This information can be recovered months or even years after
             they have been downloaded onto the storage medium, deleted, or viewed.
          b. Forensic evidence on a device can also indicate who has used or controlled the device.
             This “user attribution” evidence is analogous to the search for “indicia of occupancy”
             while executing a search warrant at a residence.
          c. A person with appropriate familiarity with how a digital storage device works may, after
             examining this forensic evidence in its proper context, be able to draw conclusions about
             how electronic devices were used, the purpose of their use, who used them, and when.
          d. The process of identifying the exact electronically stored information on storage media
             that are necessary to draw an accurate conclusion is a dynamic process. Electronic
             evidence is not always data that can be merely reviewed by a review team and passed
             along to investigators. Whether data stored on a computer is evidence may depend on
             other information stored on the computer or digital storage device and the application of
             knowledge about how a computer or digital storage device behaves. Therefore,
             contextual information necessary to understand other evidence also falls within the scope
             of the warrant.
          e. Further, in finding evidence of how a device was used, the purpose of its use, who used
             it, and when, sometimes it is necessary to establish that a particular thing is not present on
             a storage medium.




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          f. Your Affiant knows that when an individual uses an electronic device to aid in the
             commission of a crime, particularly crimes involving the sexual exploitation of children,
             the individual’s electronic device will generally serve both as an instrumentality for
             committing the crime, and also as a storage medium for evidence of the crime. The
             electronic device is an instrumentality of the crime because it is used as a means of
             committing the criminal offense. The electronic device is also likely to be a storage
             medium for evidence of crime. From my training and experience, I believe that an
             electronic device used to commit a crime of this type may contain: logs of calls between
             the user of the Device and individuals purchasing or attempting to purchase sex in
             exchange for money; text messages or other electronic communications between the user
             of the Device and individuals purchasing or attempting to purchase sex; photographs and
             other graphics and images depicting individuals involved in the purchasing or attempt to
             purchase sex; GPS or other location information related to individuals involved in
             purchasing or attempting to purchase sex; Internet activity evidencing the intent to
             engage in the purchase of sex; and other records that indicate the nature of the offense.
          g. Your Affiant also knows that those who engage in criminal activity will attempt to
             conceal evidence of the activity by hiding files, by renaming the format, (such as saving a
             .pdf image file as a .doc document file) or by giving them deceptive names such that it is
             necessary to view the contents of each file to determine what it contains.
          h. A single compact disk can store dozens of images and hundreds of pages of text. The
             size of the electronic storage media (commonly referred to as a hard drive) used in home
             computers has grown tremendously within the last several years. Thumb drives with a
             capacity of 32 gigabytes are not uncommon. Flash cards with a capacity of 32 gigabytes
             are not uncommon. Hard drives with the capacity of 500 gigabytes up to 3 terabytes are
             not uncommon. These drives can store thousands of images and videos at very high
             resolution. Magnetic storage located in host computers adds another dimension to the
             equation. It is possible to use a video camera to capture an image, process that image in a
             computer with video capture capabilities, and save that image to storage in another
             country. Once this is done, there is no readily apparent evidence at the "scene of the
             crime". Only with careful laboratory examination of electronic storage devices is it
             possible to recreate the evidence trail.
25. Need to review evidence over time and to maintain entirety of evidence. Your Affiant recognizes
    the prudence requisite in reviewing and preserving in its original form only such records applicable
    to the violations of law described in this Affidavit and in Attachment B in order to prevent
    unnecessary invasion of privacy and overbroad searches. Your Affiant advises it would be
    impractical and infeasible for the Government to review the mirrored images of digital devices that
    are copied as a result of a search warrant issued pursuant to this Application during a single
    analysis. Your Affiant has learned through practical experience that various pieces of evidence
    retrieved from digital devices in investigations of this sort often have unknown probative value and
    linkage to other pieces of evidence in the investigation until they are considered within the fluid,
    active, and ongoing investigation of the whole as it develops. In other words, the weight of each
    individual piece of the data fluctuates based upon additional investigative measures undertaken,
    other documents under review and incorporation of evidence into a consolidated whole. Analysis is
    content-relational, and the importance of any associated data may grow whenever further analysis is




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   performed. The full scope and meaning of the whole of the data is lost if each piece is observed
   individually, and not in sum. Due to the interrelation and correlation between pieces of an
   investigation as that investigation continues, looking at one piece of information may lose its full
   evidentiary value if it is related to another piece of information, yet its complement is not preserved
   along with the original. In the past, your Affiant has reviewed activity and data on digital devices
   pursuant to search warrants in the course of ongoing criminal investigations. Your affiant has
   learned from that experience, as well as other investigative efforts, that multiple reviews of the data
   at different times is necessary to understand the full value of the information contained therein, and
   to determine whether it is within the scope of the items sought in Attachment B. In order to obtain
   the full picture and meaning of the data from the information sought in Attachments A and B of this
   application, the Government would need to maintain access to all of the resultant data, as the
   completeness and potential of probative value of the data must be assessed within the full scope of
   the investigation. As such, your Affiant respectfully requests the ability to maintain the whole of
   the data obtained as a result of the search warrant, and to maintain and to review the data in the
   control and custody of the Government and law enforcement at times deemed necessary during the
   investigation, rather than minimize the content to certain communications deemed important at one
   time. As with all evidence, the Government will maintain the evidence and mirror images of the
   evidence in its custody and control, without alteration, amendment, or access by persons unrelated
   to the investigation.
26. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I
    am applying for would permit seizing, imaging, copying and reviewing the contents of the
    Device(s) consistent with the warrant. The warrant I am applying for would authorize a later
    examination and perhaps repeated review of the Device(s) or information from a copy of the
    Device(s) consistent with the warrant. The examination may require authorities to employ
    techniques, including but not limited to computer-assisted scans of the entire medium, that might
    expose many parts of the Device(s) to human inspection in order to determine whether it is
    evidence described by the warrant.

                                          INVESTIGATION

27. On January 13 and 14, 2021, members of the Homeland Security Investigations (“HSI”) Colorado
    Cyber Guardian Task Force (“CCGTF”) conducted an undercover operation focused on identifying
    and arresting individuals predisposed to engage in sexual activity with minors. The operation was
    based out of the HSI Denver office located at 5445 DTC Parkway, Suite 600, Greenwood Village,
    Arapahoe County, State of Colorado, 80111. As part of this operation, CCGTF personnel posted
    advertisements on various internet websites that are known for prostitution and escort services.

28. On January 13, 2021, at 12:46 PM one responder (The Suspect) responded to the ad with the
    number 806-640-4585. The Responder was later positively identified as Paul Castro with a year of
    birth of 1966. HSI Special Agent (“SA”) Kristen Draper took on the undercover persona of a
    mother who was offering her 13 and 14-year-old daughters for prostitution. Below is a verbatim
    copy of the communication between SA Draper and Paul Castro:




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  2021/01/13 12:46:53   806-640-   SMS Incoming Hi.. Saw your ad. Where in Denver
             PM MST     4585                    are you? Only looking for one.. pics??

  2021/01/13 05:22:37   806-640-   SMS Outgoing Hi hun... coming into Denver tonight
             PM MST     4585                    and got two young girls ready to
                                                play... Crystal is 14 yo and lots of fun
                                                and Emma is 13 yo and very sweet
  2021/01/13 05:47:28   806-640-   SMS Incoming Nice
             PM MST     4585
  2021/01/13 05:47:37   806-640-   SMS Incoming Uhmm face pics??
             PM MST     4585
  2021/01/13 05:48:13   806-640-   SMS Incoming Where are you going to be
             PM MST     4585
  2021/01/13 05:49:26   806-640-   SMS Outgoing Not sure where we r staying yet...
             PM MST     4585                    sorry hun I don't send face pics of the
                                                girls. Not safe ya know?
  2021/01/13 05:50:22   806-640-   SMS Incoming Ok. Description?? White? Black?
             PM MST     4585                    Blonde??
  2021/01/13 05:52:14   806-640-   SMS Outgoing They r both white and petite with
             PM MST     4585                    brown hair.
  2021/01/13 05:53:01   806-640-   SMS Incoming Ok. You in town tonight only??
             PM MST     4585
  2021/01/13 05:55:00   806-640-   SMS Incoming Rates?? Which one would be GFE
             PM MST     4585                    type?
  2021/01/13 05:55:15   806-640-   SMS Outgoing Kinda depends on how business is lol
             PM MST     4585
  2021/01/13 05:56:00   806-640-   SMS Incoming Sorry. I know that's a lot of questions.
             PM MST     4585                    I understand. I'm definitely interested.
                                                Just didn't think I'd hear back so it
                                                made some plans.
  2021/01/13 05:57:55   806-640-   SMS Outgoing hh 130 🌹🌹200 hr depends on what
             PM MST     4585                    kinda gf u want lol Crystal is more
                                                expierienced and down for more but
                                                Emma is really sweet if that is more
                                                your type
  2021/01/13 05:58:28   806-640-   SMS Incoming Nice
             PM MST     4585
  2021/01/13 05:59:33   806-640-   SMS Incoming As long as she's into it, I'll be good. I
             PM MST     4585                    like both those descriptions! Hahaha

  2021/01/13 05:59:44   806-640-   SMS Outgoing Crystal will do greek for an extra 50
             PM MST     4585
  2021/01/13 06:00:32   806-640-   SMS Incoming VERY HOT! When are you going to
             PM MST     4585                    know where you'll be?




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  2021/01/13 06:01:11   806-640-   SMS Outgoing Yeah hun either girl will treat u very
             PM MST     4585                    well and enjoy what they do 😊😊 I
                                                don't force either of them and u seem
                                                super nice so I am sure y'all will hit it
                                                off and have lots of fun
  2021/01/13 06:02:15   806-640-   SMS Outgoing When we get into town tonight...
             PM MST     4585                    prolly around midnight I'll figure out
                                                where we r staying then... u have plans
                                                2nite already?
  2021/01/13 06:02:38   806-640-   SMS Incoming Cool. Thanks!!
             PM MST     4585
  2021/01/13 06:03:11   806-640-   SMS Incoming I do actually. Until about 11:00 11:30.
             PM MST     4585                    But then I got to work early tomorrow

  2021/01/13 06:04:21   806-640-   SMS Incoming I'm good with tomorrow.. I work from
             PM MST     4585                    like 5:00 a.m. to about noon. But I'll
                                                make time if that's what it takes.
                                                Hahaha
  2021/01/13 06:19:14   806-640-   SMS Outgoing Lol I like that! We cud def do
             PM MST     4585                    tomorrow afternoon.... did u want
                                                Crystal or Emma? Both?
  2021/01/13 06:19:29   806-640-   SMS Outgoing Oh and ur not a cop, right?
             PM MST     4585
  2021/01/13 06:20:59   806-640-   SMS Incoming Not a cop! Hahaha both? Man that
             PM MST     4585                    sounds hot. Hahaha
  2021/01/13 06:21:38   806-640-   SMS Incoming Definitely hard to choose!
             PM MST     4585
  2021/01/13 06:22:12   806-640-   SMS Incoming Driving right now. Give me a second.
             PM MST     4585
  2021/01/13 06:23:03   806-640-   SMS Outgoing If u want both we can for sure arrange
             PM MST     4585                    that lol okay hun lemme know!

  2021/01/13 06:39:06   806-640-   SMS Incoming Are the three of you staying in the
             PM MST     4585                    same room? Sorry. Not sure how That
                                                works. Would early early tonight..
                                                Like 3 am be feasible?? Just
                                                wondering
  2021/01/13 06:40:28   806-640-   SMS Outgoing Lol no worries... we sleep in the same
             PM MST     4585                    room but I will leave during your date
                                                so that you can have some privacy.
  2021/01/13 06:41:05   806-640-   SMS Outgoing Hopefully we'll be sleeping at 3am lol
             PM MST     4585
  2021/01/13 06:47:19   806-640-   SMS Incoming Hehe..ok. what's the rate for one hour
             PM MST     4585                    with both???
  2021/01/13 06:48:50   806-640-   SMS Outgoing 🌹🌹325🌹🌹for both for an hr hun
             PM MST     4585
  2021/01/13 06:49:56   806-640-   SMS Incoming Nice. I like that. Ok. I'll hit you up
             PM MST     4585                    tomorrow



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    2021/01/13 06:51:09         806-640-      SMS Outgoing Sounds good... ttyl
               PM MST           4585
    2021/01/14 01:32:43         806-640-      SMS Outgoing hey hun just gettin up n wanted to see
               PM MST           4585                       if u were still interested


29. CBI analyst Jenkin conducted queries using public and law enforcement databases and found the
    telephone number 806-640-4585 belongs to Paul Castro year of birth 1966. It was determined that
    Paul Castro is a registered sex offender.

30. On January 13, 2021, at 11:32 AM, one responder (The Suspect) responded with the number 469-
    715-2529. (It wasn’t determined until after Paul Castro was arrested that he was associated to both
    numbers.) Below is a verbatim copy of the communication between SA Draper and Paul Castro
    from the new cell phone number:

    2021/01/13 11:32:32         469-715-      SMS      CASTRO Nice ad! What part of Denver are
               AM MST           2529                          you in?
    2021/01/13 06:24:39         469-715-      SMS      UC     Hi hun... driving in 2nite so not
               PM MST           2529                          totally sure where we will be
                                                              staying... 2 young girls ready to
                                                              play.... Crystal is 14 yo and very fun
                                                              n Emma is 13 yo and super sweet
    2021/01/13 10:56:59         469-715-      SMS      CASTRO Hi.. sorry. Just got your msg.
               PM MST           2529                          Sounds good. What part of town
                                                              will you be in?
    2021/01/13 10:59:57         469-715-      SMS      UC     i think we'll be around denver.
               PM MST           2529                          which one were you thinking of?
    2021/01/13 11:01:37         469-715-      SMS      CASTRO Which girl? I dunno. Would be nice
               PM MST           2529                          if I could see what they look like?
                                                              Body types?
    2021/01/13 11:02:29         469-715-      SMS      CASTRO Also.. rates?
               PM MST           2529
    2021/01/13 11:04:18         469-715-      SMS      CASTRO Very sexy. Nice.
               PM MST           2529
    2021/01/13 11:04:19         469-715-      MMS UC               Crystal 🌺🌺
               PM MST           2529
    2021/01/13 11:06:37         469-715-      MMS UC               Emma 🌸🌸
               PM MST           2529
    2021/01/13 11:07:07         469-715-      SMS      CASTRO Wow.. both are super sexy.
               PM MST           2529                          TOUGH CHOICE!! haha
    2021/01/13 11:07:13         469-715-      SMS      UC     rates depend baby you want one or
               PM MST           2529                          both??? they play well together
    2021/01/13 11:09:02         469-715-      SMS      CASTRO Hmmmm.. when are they available?
               PM MST           2529                          Your msg said you were driving in
                                                              tonight?


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  2021/01/13 11:09:43   469-715-   SMS     CASTRO If they play well together.. ?? Why
             PM MST     2529                      not both? 😊😊
  2021/01/13 11:10:00   469-715-   SMS     UC     yeah were coming in from az so we
             PM MST     2529                      probably wont be avail tonight but
                                                  were setting up dates for
                                                  tomorrrow?
  2021/01/13 11:10:23   469-715-   SMS     CASTRO Oh nice! Ok. Count me in!
             PM MST     2529
  2021/01/13 11:10:33   469-715-   SMS     UC         would you want an hh or hr??
             PM MST     2529
  2021/01/13 11:11:16   469-715-   SMS     CASTRO For both.. need at LEAST an hour..
             PM MST     2529                      🙂🙂
  2021/01/13 11:12:32   469-715-   SMS     UC     😘😘 hr would be 325 🌹🌹 donation...
             PM MST     2529
  2021/01/13 11:13:40   469-715-   SMS     CASTRO Ok. I can do that. Any idea of your
             PM MST     2529                      time frame?
  2021/01/13 11:15:29   469-715-   SMS     CASTRO Oh..uhmmm.. do they enjoy the
             PM MST     2529                      companionship of older men? I
                                                  mean.. would be more fun for ME if
                                                  there was some enthusiasm on their
                                                  part?
  2021/01/13 11:16:01   469-715-   SMS     CASTRO I'm not 100.. but I'm not in my 20s
             PM MST     2529                      either
  2021/01/13 11:16:46   469-715-   SMS     UC     oh definitely babe they love what
             PM MST     2529                      they do! Emma is still a little shy
                                                  but shes eager to learn and loves
                                                  playing with Crystal!
  2021/01/13 11:18:04   469-715-   SMS     CASTRO Very nice! 😊😊 So it's good that they
             PM MST     2529                      will be together for my time with
                                                  them then!
  2021/01/13 11:19:22   469-715-   SMS     CASTRO Do you have a time set up for me to
             PM MST     2529                      come visit? Or not yet? Still
                                                  driving?
  2021/01/13 11:19:25   469-715-   SMS     UC     yes baby they will love it 😍😍
             PM MST     2529
  2021/01/13 11:19:37   469-715-   SMS     CASTRO Hehe.. awesome!
             PM MST     2529
  2021/01/13 11:20:05   469-715-   SMS     CASTRO Oh.. I'm Hispanic.. is that an issue?
             PM MST     2529
  2021/01/13 11:20:08   469-715-   SMS     UC         is there a time that works for you
             PM MST     2529                          tomorrow baby?
  2021/01/13 11:22:38   469-715-   SMS     UC         not an issue hun!
             PM MST     2529



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  2021/01/13 11:24:51   469-715-   SMS     CASTRO Uhmm?? Depending on where you
             PM MST     2529                      are gonna be..? I'd say anytime after
                                                  6 tomorrow? Or if daytime is
                                                  better.. between 9 am to 1 pm..??

  2021/01/13 11:26:12   469-715-   SMS     UC     we can do evening baby and i can
             PM MST     2529                      just let you know if anything comes
                                                  up that changes. and your good with
                                                  cash? and bringing condoms?
  2021/01/13 11:29:51   469-715-   SMS     CASTRO Yes. I'm good with that. I get the
             PM MST     2529                      full hour.. with both.. So I can use as
                                                  many condoms as i am able to??
                                                  Haha
  2021/01/13 11:32:39   469-715-   SMS     UC     yes baby but no water sports, greek,
             PM MST     2529                      or hurting them. greek is avail for
                                                  Crystal but extra donation. you can
                                                  also take pics for extra donation
                                                  baby
  2021/01/13 11:35:12   469-715-   SMS     CASTRO No water sports or pain for me.
             PM MST     2529                      Want THEM to enjoy it to.. So they
                                                  will be OK seeing me again! And
                                                  greek? Mmm.. Tempting.. Hehe..
                                                  we'll see. I'll pass on the pics as
                                                  well.. maybe the next time?
  2021/01/13 11:38:45   469-715-   SMS     UC     okay baby so 325 hr for both 🌹🌹 i
             PM MST     2529                      hate to ask cause you seem so nice
                                                  but your not the cops right you have
                                                  to tell me if you are?
  2021/01/13 11:40:46   469-715-   SMS     CASTRO I'm not.. but I don't know what the
             PM MST     2529                      law says about that. I mean.. I
                                                  understand being cautious.. so..
                                                  you're not a sting of some sort? Are
                                                  you???
  2021/01/13 11:41:26   469-715-   SMS     CASTRO Sorry. But you brought up a good
             PM MST     2529                      point! Hehe
  2021/01/13 11:42:11   469-715-   SMS     UC     fuck no baby i could go to jail and
             PM MST     2529                      leave my girls with no one... were
                                                  just trying to make money. weve
                                                  just had bad experiences so i have to
                                                  make sure were gunna be alight




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  2021/01/13 11:45:22   469-715-   SMS     CASTRO I get that. Nothing to worry about
             PM MST     2529                      with me. The ONE thing I was told
                                                  is that a cop will not expose himself
                                                  when asked.. or touch a girl
                                                  "suggestively".. so I've had some
                                                  girls I've met for fun ask me to
                                                  expose myself or touch their boob to
                                                  prove I wasn't??
  2021/01/13 11:47:02   469-715-   SMS     CASTRO Don't know if that helps?? Cuz I
             PM MST     2529                      really have NO IDEA! But I do
                                                  know cops are allowed to LIE to
                                                  you. With no consequences..?
  2021/01/13 11:47:41   469-715-   SMS     CASTRO Not trying to freak you out. Sorry. I
             PM MST     2529                      talk too much sometimes
  2021/01/13 11:49:01   469-715-   SMS     UC     really that is worrysome??? i just
             PM MST     2529                      dont wanna get busted i always
                                                  heard they have to tell you but i
                                                  believe you baby.
  2021/01/13 11:49:27   469-715-   SMS     CASTRO ?? Don't know.. ?? Sorry.
             PM MST     2529
  2021/01/13 11:50:12   469-715-   SMS     UC         thats okay baby lol
             PM MST     2529
  2021/01/13 11:51:40   469-715-   SMS     CASTRO I'm looking forward to meeting
             PM MST     2529                      those hot sexy girls of yours! Please
                                                  don't forget about me.. I'm sure their
                                                  schedule is filling up!!!
  2021/01/13 11:54:51   469-715-   SMS     UC     we wont forget about you baby 😘😘
             PM MST     2529                      will you please text me in the
                                                  morning just to confirm. we get so
                                                  many flakes i just wanna know its
                                                  real tomorrow too
  2021/01/13 11:55:37   469-715-   SMS     CASTRO Ok. Will do. Any certain time?
             PM MST     2529
  2021/01/13 11:55:56   469-715-   SMS     UC         anytime baby we will probably sleep
             PM MST     2529                          in
  2021/01/13 11:57:00   469-715-   SMS     CASTRO By the way.. I'm Alex.. 😊😊. Ok. I'll
             PM MST     2529                      give you time to sleep. Will try to
                                                  call between 12 and 1pm? Fair
                                                  enough?
  2021/01/13 11:58:38   469-715-   SMS     UC     okay Alex 😚😚 sounds good baby
             PM MST     2529                          well talk tomorrow
  2021/01/13 11:58:56   469-715-   SMS     CASTRO 👍👍
             PM MST     2529


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  2021/01/14 11:00:25   469-715-   SMS     CASTRO Good morning. Just checking to see
             AM MST     2529                      that you all got settled! 😊😊. What
                                                  part of town you staying in?
  2021/01/14 01:23:19   469-715-   SMS     UC     Hi hun... just gettin up
             PM MST     2529
  2021/01/14 01:23:53   469-715-   SMS     CASTRO Ok. Didn't mean to wake you! Get
             PM MST     2529                      settled in?
  2021/01/14 01:30:13   469-715-   SMS     UC     its ok baby need to get up
             PM MST     2529
  2021/01/14 01:30:42   469-715-   SMS     CASTRO Sounds like you guys had a very
             PM MST     2529                      long trip!
  2021/01/14 01:31:27   469-715-   SMS     UC     ya finally got some rest... seems like
             PM MST     2529                      well have a busy day baby let me
                                                  know if u still interested
  2021/01/14 01:52:13   469-715-   SMS     UC         its kool if u not interested baby just
             PM MST     2529                          let me know cuz we bookin up
  2021/01/14 01:53:03   469-715-   SMS     CASTRO I'm definitely interested.. but might
             PM MST     2529                      be later tonight.. That's all
  2021/01/14 01:53:37   469-715-   SMS     CASTRO How about if I msg you later.. When
             PM MST     2529                      I'm free?
  2021/01/14 01:58:22   469-715-   SMS     UC     ya that should work.. like what time
             PM MST     2529                      u thinkin baby? just want to mk sure
                                                  we ready for u hun
  2021/01/14 01:59:30   469-715-   SMS     CASTRO Well.. where are you staying?
             PM MST     2529                      Traffic might hold me up.. But I'm
                                                  thinking like 630 or so??
  2021/01/14 02:06:00   469-715-   SMS     UC     i think this is like east denver baby
             PM MST     2529
  2021/01/14 02:06:41   469-715-   SMS     CASTRO Ok.. but.. Like what hotel? East
             PM MST     2529                      Denver traffic isn't bad..
  2021/01/14 02:07:57   469-715-   SMS     UC     baby i dont like to give my hotel
             PM MST     2529                      where we stayin until i know for
                                                  sure u coming.. weve had some
                                                  really scary things happen to us
  2021/01/14 02:51:44   469-715-   SMS     CASTRO Ok. Sounds like maybe you don't
             PM MST     2529                      want me to show.. That's cool. The
                                                  girls are in the pics are very sexy.
                                                  Was a nice fantasy I suppose. Take
                                                  care.
  2021/01/14 03:11:04   469-715-   SMS     CASTRO 😞😞😞😞😞😞
             PM MST     2529




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  2021/01/14 03:33:37   469-715-   SMS     UC         No for real it is just not safe... had
             PM MST     2529                          sum real bad things happen before if
                                                      I wasnt careful ya know?
  2021/01/14 03:43:39   469-715-   SMS     CASTRO Ok. Can you at least give me a
             PM MST     2529                      general idea?? Like are you off I-
                                                  70.. I-25..I225?? Just wanted to
                                                  give you a more accurate time since
                                                  I'm sure you're swamped
  2021/01/14 03:45:17   469-715-   SMS     UC     Thx for understanding 😊😊 so we r
             PM MST     2529                          close to I225
  2021/01/14 03:45:25   469-715-   SMS     CASTRO     I'm not crazy.. Not do I want to get
             PM MST     2529                          me or you in trouble. But I get
                                                      where you're coming from
  2021/01/14 03:46:15   469-715-   SMS     CASTRO     Ok. Nice! That's on my way home.
             PM MST     2529                          😁😁. What times do you have
                                                      available?
  2021/01/14 03:47:52   469-715-   SMS     UC         I def don't want trouble either.... or
             PM MST     2529                          crazy lol already seen enough of
                                                      that!
  2021/01/14 03:48:56   469-715-   SMS     UC         Nice! Wut time r u thinking? cud
             PM MST     2529                          probably do like 5?
  2021/01/14 03:49:25   469-715-   SMS     CASTRO     Uhmm.. more like 6 actually.. is
             PM MST     2529                          that too late?
  2021/01/14 03:50:16   469-715-   SMS     UC         Nah hun 6 is good... I can keep it
             PM MST     2529                          open for ya 😉😉
  2021/01/14 03:54:15   469-715-   SMS     CASTRO     Cool.
             PM MST     2529
  2021/01/14 03:55:07   469-715-   SMS     CASTRO I can msg you when I'm headed
             PM MST     2529                      your way.
  2021/01/14 05:02:02   469-715-   SMS     UC     Yea that wud be perfect
             PM MST     2529
  2021/01/14 05:45:27   469-715-   SMS     CASTRO Headed your way. Where should I
             PM MST     2529                      go?
  2021/01/14 05:46:08   469-715-   SMS     CASTRO Also, before you answer, I do have
             PM MST     2529                      one request. This is a little nerve-
                                                  racking for me not sure what to
                                                  expect. Can you do me one favor?
  2021/01/14 05:47:00   469-715-   SMS     UC     Lol oh man what kind of favor 😬😬
             PM MST     2529
  2021/01/14 05:47:25   469-715-   SMS     UC         R U into sum crazy shit?
             PM MST     2529




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  2021/01/14 05:47:40   469-715-   SMS     CASTRO Nothing super difficult. I just want
             PM MST     2529                      to make sure that everything is for
                                                  real.
  2021/01/14 05:48:03   469-715-   SMS     CASTRO Oh no no no! Hahaha
             PM MST     2529
  2021/01/14 05:48:18   469-715-   SMS     UC          phew okay what do u want?
             PM MST     2529
  2021/01/14 05:49:40   469-715-   SMS     CASTRO Can you have the girls stand next to
             PM MST     2529                      each other and put up a peace sign.
                                                  Then take the picture of the back of
                                                  her heads with the peace sign up just
                                                  so I know that they are there. Does
                                                  that make sense?
  2021/01/14 05:50:26   469-715-   SMS     CASTRO It's crazy as it sounds, if you were
             PM MST     2529                      law enforcement or something like
                                                  that I seriously thought you would
                                                  have rules in the room with you.
                                                  Haha
  2021/01/14 05:51:00   469-715-   SMS     CASTRO I seriously doubt there would be two
             PM MST     2529                      girls there
  2021/01/14 05:51:06   469-715-   SMS     UC     lol yea okay
             PM MST     2529
  2021/01/14 05:51:47   469-715-   SMS     UC     can u send me a pic? Don't have to
             PM MST     2529                      be of your face?
  2021/01/14 05:52:31   469-715-   SMS     CASTRO Okay. No face. What do you want to
             PM MST     2529                      see?
  2021/01/14 05:56:17   469-715-   SMS     UC     Can u send a pic of the 🌹🌹 fanned
             PM MST     2529                           out and holding up 2 fingers?
  2021/01/14 06:00:29   469-715-   SMS     CASTRO Oh yeah*!!! I like that visual!
             PM MST     2529                      Hahaha give me a few to get it set
                                                  up.
  2021/01/14 06:01:41   469-715-   SMS     UC     LMFAO 😆😆 okay cool... lemme
             PM MST     2529                           grab the girlz n take ur pic
  2021/01/14 06:17:39   469-715-   SMS     CASTRO Oh crap.. Forgot my two fingers..
             PM MST     2529
  2021/01/14 06:18:56   469-715-   MMS CASTRO
             PM MST     2529
  2021/01/14 06:19:17   469-715-   SMS     CASTRO Nice pic! Get mine?
             PM MST     2529
  2021/01/14 06:20:14   469-715-   SMS     UC     I did... r u sure that is yours lol I
             PM MST     2529                      don't see the peace sign!
  2021/01/14 06:20:59   469-715-   SMS     CASTRO Hehe.. want me to do it again?
             PM MST     2529


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  2021/01/14 06:22:24   469-715-   SMS     UC         Jus wanna make sure ur legit
             PM MST     2529
  2021/01/14 06:32:13   469-715-   SMS     CASTRO Bad signal.. Taking long time.. or
             PM MST     2529                      msgs not getting through
  2021/01/14 06:32:17   469-715-   SMS     CASTRO Still nervous though.. sorry.. I need
             PM MST     2529                      to relax a little..
  2021/01/14 06:32:28   469-715-   SMS     CASTRO I get that. Same here. Not trying to
             PM MST     2529                      walk into a bad situation.
  2021/01/14 06:33:29   469-715-   MMS CASTRO
             PM MST     2529
  2021/01/14 06:34:15   469-715-   SMS     UC         Nice! Thx !
             PM MST     2529
  2021/01/14 06:34:58   469-715-   SMS     CASTRO Get all that? Dang.
             PM MST     2529
  2021/01/14 06:37:43   469-715-   SMS     UC         Sure did 😄😄
             PM MST     2529
  2021/01/14 06:39:30   469-715-   SMS     UC     R u gonna head over? The hotel is
             PM MST     2529                      right off I-225 & Iliff
  2021/01/14 06:41:04   469-715-   SMS     UC     Wud u mind meeting me at the 7-11
             PM MST     2529                      next door first? Just wanna meet u to
                                                  make sure that ur cool and not like a
                                                  psycho or something. I'll give ya the
                                                  key once I know ur cool and u can
                                                  head over.
  2021/01/14 06:45:32   469-715-   SMS     CASTRO Are you not going to be in the room
             PM MST     2529                      with the girls?
  2021/01/14 06:46:32   469-715-   SMS     CASTRO I mean when we first meet. Cuz how
             PM MST     2529                      would I know the key would even
                                                  work?
  2021/01/14 06:47:50   469-715-   SMS     UC     Oh yea i gotcha yea I will give u
             PM MST     2529                      your privacy but can walk over and
                                                  introduce u if that works better...
                                                  whatever u wud feel more
                                                  fomfortable with
  2021/01/14 06:54:22   469-715-   SMS     CASTRO Ok. How far is the hotel from
             PM MST     2529                      there? Just kind of cold. That's all.
                                                  But if you want to walk all the way
                                                  to the 7-Eleven, I can meet you
                                                  there.
  2021/01/14 06:57:29   469-715-   SMS     UC     It is real close to the hotel
             PM MST     2529
  2021/01/14 07:00:42   469-715-   SMS     CASTRO Ok.
             PM MST     2529



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  2021/01/14 07:02:24   469-715-   SMS     UC         R u close? Was thinkin of grabbing
             PM MST     2529                          some dinner for us but can wait.
  2021/01/14 07:03:02   469-715-   SMS     CASTRO I'm headed that way. What are you
             PM MST     2529                      wearing? You gonna be up front?
  2021/01/14 07:03:29   469-715-   SMS     CASTRO I'm about 10 mins away
             PM MST     2529
  2021/01/14 07:06:30   469-715-   SMS     UC         K the girls r super hangry so I'm
             PM MST     2529                          gonna grab them a quick bite k hun?
  2021/01/14 07:07:01   469-715-   SMS     CASTRO K..
             PM MST     2529
  2021/01/14 07:07:52   469-715-   SMS     CASTRO I can give you a ride back if you
             PM MST     2529                      want??
  2021/01/14 07:10:19   469-715-   SMS     UC     Ur too sweet 😋😋 I am gonna pick up
             PM MST     2529                      food at outback... want to meet me
                                                  there?
  2021/01/14 07:11:38   469-715-   SMS     CASTRO Ok. But.. Where is that? LOL. I'll
             PM MST     2529                      find it.. Nevermind..
  2021/01/14 07:13:14   469-715-   SMS     UC     It is near like Evans and Abiline
             PM MST     2529
  2021/01/14 07:14:16   469-715-   SMS     UC         Lol sorry I don't know the address
             PM MST     2529
  2021/01/14 07:17:49   469-715-   SMS     CASTRO All good. I'll find the nearest one.
             PM MST     2529                      Haha
  2021/01/14 07:19:19   469-715-   SMS     CASTRO Are you walking there? Is it close to
             PM MST     2529                      your hotel? do you mind telling me
                                                  the name of the hotel so I'll know if
                                                  I'm at the right place?
  2021/01/14 07:21:35   469-715-   SMS     UC     Yeah I'm gonna walk over and it is
             PM MST     2529                      close to the motel 6
  2021/01/14 07:25:09   469-715-   SMS     CASTRO Uhhh.. if you're at the motel 6 I
             PM MST     2529                      think you are, and you're going to
                                                  outback, it's not that close. I can
                                                  give you a ride if you haven't started
                                                  walking yet.
  2021/01/14 07:26:01   469-715-   SMS     UC     oh shit okay i thoughr it was closer
             PM MST     2529                      lol i suck at directions
  2021/01/14 07:29:09   469-715-   SMS     UC     R u sure? That wud be super cool.
             PM MST     2529                      I'm gonna head down and smoke u
                                                  wanna pick me up in the back of the
                                                  hotel?
  2021/01/14 07:31:17   469-715-   SMS     CASTRO Hehe.. all good
             PM MST     2529



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    2021/01/14 07:31:53         469-715-      SMS      UC         Thx 😊😊
               PM MST           2529
    2021/01/14 07:32:28         469-715-      SMS      UC         I will be out back... wearing black
               PM MST           2529                              pants and black knee hi boots
    2021/01/14 07:37:11         469-715-      Call     UC
               PM MST           2529
    2021/01/14 07:37:43         469-715-      Call     UC
               PM MST           2529

31. During the communications, SA Draper utilized lingo and phrases that are common for the
    negotiation of exchanging cash for sex. The lingo usually entails talking about “donations” instead
    of an exchange of cash. Talking about the time, an hour “HR” or half hour “HH”, refers to regular
    sexual intercourse. Discussions of oral or anal sex usually include the terms BJ (Blow job for oral
    sex) or Greek (for anal sex). Based on training and experience, SA Draper knows that “GFE” is
    slang for “girlfriend experience” and means that the sexual encounter includes kissing, cuddling
    and/or hugging in addition to sexual intercourse. Also based on training and experience, SA Draper
    knows that the term “water sports” is sexual activity in which urine is involved.

32. For images of the teen aged-child victims, HSI SA Draper sent pictures of a young-looking
    confidential informant and young-looking CBI analysts. Their faces were cropped out of the
    photographs or their faces were not in the pictures.

33. Because the Suspect was not positively identified before he arrived, SA Draper instructed him go to
    the 7-11 store near the intersection of Iliff Avenue and Blackhawk Street in Aurora, Colorado.
    CCGTF personnel planned to send the Suspect to the hotel from the 7-11 store so the vehicle could
    be positively identified prior to his arrival at the hotel.

34. Aurora Police Department (APD) Detective Pat McGinty was doing surveillance of the 7-11
    parking lot and observed a red Jeep Liberty parked on the east side of the store. Detective McGinty
    observed the Jeep Liberty make a slow loop through the parking lots near the 7-11 and then go
    eastbound on Iliff Avenue.

35. The Jeep Liberty was then seen parking near the Rosie’s Diner at 14061 E Iliff Avenue. Detective
    McGinty located the Jeep Liberty and confirmed it was the same one that was previously at the 7-
    11. Detective McGinty observed the Jeep Liberty bearing Colorado license plate ABVL23. The
    Suspect was instructed to drive to the north side of the Motel 6 located at 14031 E Iliff Avenue,
    Aurora, Colorado. The Suspect was told he would see a female (The UC Persona) wearing all black
    and smoking a cigarette. HSI SA Meraly Delucca was utilized as the decoy for the UC Persona.
    Once Paul Castro arrived at the north side of the hotel, he was contacted by uniformed APD Gang
    Unit officers and placed into custody.




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36. A black Samsung cellular telephone was found in Paul Castro’s vehicle and seized as evidence.
    Messages/calls were sent from the UC phone numbers to 806-640-4585 and 469-715-2529 and
    those messages/calls were seen displaying on the screen of the black Samsung cellular telephone
    that Paul Castro had in his possession at the time of his arrest.

37. Paul Castro was searched incident to arrest and officers found exactly $325 in his front pants
    pocket. This is the same amount of cash that Paul Castro agreed to pay to have sex with two under
    aged children. Paul Castro was positively identified by the photo on his Colorado Driver’s License.
    Paul Castro was transported to the Aurora Jail. At the jail, Detective McGinty advised Paul Castro
    of the charges he was facing and asked him if he would be interested in making any statements.
    Paul Castro advised that he did not wish to make any statements. Detective McGinty did not ask
    him any further questions.

38. Therefore, while your Affiant might already have all necessary authority to examine the Device,
    your Affiant seeks this additional warrant out of an abundance of caution to be certain that an
    examination of the Device will comply with the Fourth Amendment and other applicable laws.

39. The Device is currently in storage at the Aurora Police Department Property Bureau located at
    15001 East Alameda Parkway, Aurora, Colorado 80012. In my training and experience, I know
    that the Device has been stored in a manner in which the contents are, to the extent material to this
    investigation, in substantially the same state as they were when the Device first came into the
    possession of the Aurora Police Department.

                                               CONCLUSION

39. Based on the investigation described above, probable cause exists to believe that inside the Device
    (described on Attachment A), will be found evidence, fruits, and instrumentalities of a violation of
    Title 18, United States Code, Section 2422(b) (described on Attachment B).

40. I, therefore, respectfully request that the attached warrant be issued authorizing the search and
    seizure of the items described in Attachment A for the items listed in Attachment B.

I declare under penalty of perjury that the foregoing is true and correct to the best of my information,
knowledge, and belief.

                                              _s/ Kristen Draper_____________________
                                              Kristen Draper, Special Agent
                                              Homeland Security Investigations

SUBSCRIBED and SWORN before me this ______       January
                                    28th day of _______________ 2021.


                                              ___________________________________
                                              THE HON SCOTT T. VARHOLAK
                                              UNITED STATES MAGISTRATE JUDGE

Application for search warrant was reviewed and is submitted by David Tonini, Assistant United States
Attorney.


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